[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
The motion for summary judgment in this case is granted, as the plaintiff has shown that no genuine issue of material fact exists, and he is entitled to judgment as a matter of law. SeeCasanova Club v. Bisharat, 189 Conn. 591, 597-98, 458 A.2d 1
(1983); Hilton International Co. v. Arace, 35 Conn. Sup. 522
527-30, 394 A.2d 739 (App. Sess. 1977) (same facts as present CT Page 7037 case). Defendant has failed to offer any opposition to the motion and, accordingly, has failed to sustain his burden of demonstrating the existence of a genuine issue of material fact.
SYLVESTER, J.